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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


JOHN NORTHRUP, Individually and on behalf
of a Class of Similarly Situated Individuals
                                                         Civil Action No. 8:17-cv-01890-CEH-JSS
Plaintiff,

v.

Innovative Health Insurance Partners, LLC,
CyberX Group, LLC, David E. Lindsey; and
Independent Truckers Group, Inc.;

Defendants.
__________________________________/

     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE
        SUPPLEMENTAL REPLY TO MOTION FOR CLASS CERTIFICATION

        Defendants respond in opposition to Plaintiff John Northrup’s Motion For Leave To File

Reply To Defendants’ Response To Plaintiff’s Supplement to Motion For Class Certification

[D.E. 76]. Put simply, enough is enough. Plaintiff has not met his burden of establishing a

workable class under Rule 23 even with three briefs and the opportunity for oral argument. At

every turn, Plaintiff attempts to revise and reshape the class to no avail. For these reasons, and as

explained in more detail below, Plaintiff’s request for additional briefing should be denied so

that a ruling can be entered concerning class certification.

        1.     Plaintiff initially moved for class certification on April 13, 2018 [D.E. 54].

        2.     Defendants timely opposed, pointing to the inadequacy of the class for a variety

of reasons, not the least of which was the inability to systematically identify potential class

members as defined. See Response in opposition to Plaintiff’s Motion To Certify Class [D.E. 59].

        3.     After Defendants pointed out that the class definition proposed by Plaintiff was

inadequate, Plaintiff sought leave to file a Reply. Defendants did not oppose. See Unopposed


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Motion For Leave to File Reply [D.E. 60]. In his Reply, Plaintiff tried (unsuccessfully) to modify

the class to address the undisputed inadequacies raised by Defendants in their opposition. Id.

       4.      Recognizing that those efforts were to no avail, Plaintiff again changed his class

definition (unprompted) at the September 5, 2018 hearing on Class Certification.

       5.      Although the Court noted that Plaintiff had yet to present and stick with any class

definition, let alone one that could be certified, it allowed Plaintiff one more opportunity to

attempt to present an adequate class. See Docket Entry 73 (providing notice to counsel that each

party would be allowed one additional seven page brief to address class certification issues).

       6.      Plaintiff filed his supplemental brief on September 12, 2018 [D.E. 74]. In that

Supplement, Plaintiff could have—and should have—addressed the various issues raised during

oral argument at the hearing, including the strong opinion against Plaintiff’s position in the

Haight v. Bluestem case, which was discussed at length at the hearing, as well as the substantive

standing issues.

       7.      But Plaintiff’s Supplement failed to address those issues.

       8.      Epitomizing Plaintiff’s lack of genuine need for additional briefing to establish its

proposed class (which, as pointed out in the Response, suffers from more defects than it did at

the hearing) is the fact that, despite being given seven pages for its Supplement, Plaintiff only

utilized six pages. Yet now Plaintiff seeks an additional seven pages for a Reply.

       9.      All told, Plaintiff has already had four opportunities to meet his burden: initial

class certification motion, unopposed reply, hearing, and a supplemental brief. Plaintiff’s claim

to now need a fifth brief is unjustified, especially on the specious grounds of needing another

opportunity to address Haight, standing, and a three-year-old Eleventh Circuit case that merely

sets out the strict standard for ascertainability (Karhu). The arguments were all raised in




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substance in the original pleadings or at the hearing, and Plaintiff has already had three

opportunities to amend his original brief in an attempt to satisfy his burden to propose a clearly-

defined, ascertainable class supported by evidence. The failure to make the most of his four

opportunities belies a fifth.

        WHEREFORE, Defendants respectfully request entry of an Order denying Plaintiff’s

motion for leave to file an additional Reply in support of class certification and awarding

Defendants any other relief deemed appropriate.

Date: October 15, 2018

                                              Respectfully Submitted,

                                              s/ Bill S. Richmond_ ________________________
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                                 CERTIFICATE OF SERVICE
         The undersigned counsel for Defendants hereby certifies that on October 15, 2018, that
the foregoing document is being sent via FedEx Mail and Electronic Mail to Plaintiff’s counsel
as listed on the attached Service List (via CM/ECF).
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